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 5   Telephone: (559) 237-6000
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 6

 7

 8

 9   Attorney for Defendant, THAVONE ONSYPHANLA

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11

12                  IN THE UNITED STATES DISTRICT COURT FOR THE

13                           EASTERN DISTRICT OF CALIFORNIA

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17   UNITED STATES OF AMERICA, )              CASE NO. 1:12-CR-00341 LJO
                                    )
18         Plaintiff,               )
                                    )         STIPULATION AND ORDER
19      v.                          )         TO CONTINUE JURY TRIAL
                                    )
20   THAVONE ONSYPHANLA,            )
     ET AL.,                        )
21                                  )
           Defendants               )
22   ______________________________ )

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25          The parties hereto, by and through their respective attorneys, stipulate and agree

26   that the jury trial calendared for December 3, 2013 be continued to January 28, 2014, at
27   8:30 a.m. before the Honorable Lawrence J. O’Neill, United States District Court Judge.
28
     Trial Confirmation is scheduled for January 13, 2014 at 8:30 a.m.       Additionally, all
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 1   motions in limine, and any other pretrial motions, shall be filed by December 20, 2013, and
 2   the Government’s response is due by January 8, 2014.
 3
            This continuance is necessitated by the fact that defense counsel, Roger K. Litman,
 4
     is scheduled to undergo surgery on December 6, 2013. The nature of the injury suffered by
 5
     Mr. Litman, and the surgery required, has been discussed with the government and with
 6

 7   all defense counsel in this matter. All agree that for purposes of good cause, said surgery is

 8   necessary and that the date selected by Mr. Litman’s physician for the surgery is

 9   reasonable to support actual and legal findings by the court that good cause exists to
10   continue the jury trial of this matter.
11
            The parties also agree that any delay resulting from this continuance shall be
12
      excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F), 3161(h)(8)(A)
13
      and 3161(h)(8)(B)(I).
14

15   DATED: November 7, 2013                    /s/ Karen Escobar
                                                KAREN ESCOBAR
16                                              Assistant United States Attorney
                                                This was agreed to by Ms. Escobar
17                                              by telephone on November 7, 2013
18
     DATED: November 7, 2013                    /s/ Roger K. Litman
19                                              ROGER K. LITMAN
                                                Attorney for Defendant
20                                              THAVONE ONSYPHANLA
21
     DATED: November 7, 2013                    /s/ Barbara Hope O’Neill
22                                              BARBARA HOPE O’NEILL
                                                Attorney for Defendant
23                                              RASSAMEI PHOTHIDOKMAI
                                                This was agreed to by Ms. Hope O’Neill
24                                              by telephone on November 7, 2013
25
     DATED: November 7, 2013                    /s/Peter Jones
26                                              PETER JONES
                                                Attorney for Defendant
27                                              PAUL NOKHAM
                                                This was agreed to by Mr. Jones
28                                              via email on November 7, 2013
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 1
     DATED: November 5, 2013           /s/Gary Huss
 2                                     GARY HUSS
                                       Attorney for Defendant
 3                                     PHONEPASEJTH PHAPHILOM
                                       This was agreed to by Mr. Huss
 4                                     via email on November 6, 2013

 5

 6

 7         IT IS SO ORDERED.
 8
                                           Dated:   November 7, 2013
 9   /s/ Lawrence J. O’Neill
                                           UNITED STATES DISTRICT JUDGE
10
           DEAC_Signature-END:




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